    Case 19-01318-5-SWH                 Doc 21 Filed 04/09/19 Entered 04/09/19 16:58:22          Page 1 of 1
VAN−117 Hearing Conference Worksheet − Rev. 07/10/2018


Date:_____________________                  Time: _____________________    Place: _____________________

Date:_____________________                  Time: _____________________    Place: _____________________

Date:_____________________                  Time: _____________________    Place: _____________________

IN RE:
Mark J Miller                                              CASE NO.: 19−01318−5−SWH
103 Joe Baldwin Drive
Leland, NC 28451                                           DATE FILED: March 22, 2019

Wilmington Division                                        CHAPTER: 13




                                         HEARING/CONFERENCE WORKSHEET

Matter to be heard:

13 − Motion for Relief from Stay (Fee 181) (Fee Paid) filed by Franklin Drake on behalf of Riegelwood Federal
Credit Union (Drake, Franklin)

20 − Response in Opposition to Motion for Relief from Stay (related document(s): 13 Motion for Relief from Stay
filed by Creditor Riegelwood Federal Credit Union) filed by Mark J Miller (Harris, Donna)

Mark J Miller
103 Joe Baldwin Drive
Leland, NC 28451
910−840−6051

Joseph A. Bledsoe III
PO Box 1618
New Bern, NC 28563
252 633−0074

Franklin Drake: 919−250−2000

DATED: April 9, 2019

Donna Harris
